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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


ALEXANDER CAMERON, et al.,
on behalf of themselves and all others similarly
situated,


                                Plaintiffs,
                                                               1:21-cv-02908 (APM)
               v.

DISTRICT OF COLUMBIA,

                                Defendant.


                                              [Proposed]
                                               ORDER

      Upon consideration of Defendant’s Motion to Dismiss the Complaint, and all the briefing

and argument thereon, it is hereby ORDERED that the motion is DENIED.


Date: ____________                                         ___________________
                                                           Amit P. Mehta
                                                           United States District Judge
